 Case 1:20-cv-22031-JEM Document 1 Entered on FLSD Docket 05/15/2020 Page 1 of 14
                                                                                            FILED BY                       D.C.

                                                                                                     MAï 15 2022
                                   IN THE UN ITED STA TES DISTRICT COU RT                            Ct
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                                                                                                                wl7L #Mi
                                                                                                                  -MjA
                                  FOR THE            DISTRICT O F
                                                       D IV ISION
                                      (WritetheDistrictandDivision,fany,ofthe
                                         courtinwhichthecomplaintishled)

             a          S         J
                                                              Com plaintfor V iolation ofC ivil
                                                              Rights
                                                              (PrisonerComplaint)
     (Writethefullnameofeachplaintffwhoishling
     thiscomplaint.Y'//lcnamesofalltheplaintp                 caseNo.
     cannothtinthespaceabove,pleasewrite f'ycc                (tobehlledinbytheClerk,
                                                                                    sO//cc)
     attached''in thespace and attach an additional
     pagewiththefulllistofnames)                              Jul'
                                                                 y Trial:     (ZIYes (7lNo
                                                                              (checkone)
         -   against-

      V k'1)                C/G


     (Writethefullnameofeachdefendantwhois
     being sued..J/'//?t?namesofallthedefendants
     Cannotfît thespaceabojle,pleasewrite ''ATtl
               i
               n                                                    ccêJ:J'
                                                                          .V            Y                             -



     attached''inthespaceandattachanadditional                      C.
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     pagewiththefulllistofnames.Donotinclude                        Judee.                       --Mag.-
     Jddresseshere.  )                                              MDtrlifp                        Fee pd $           B   -



                                                                    Rqceipt#                         --

                                                  N O TICE

FederalRulesofCivilProcedure5.2 addressesthe privacy and security concernsresultingfrom public
accessto electronic courtfiles. Underthisrule,papers filed w ith the courtshould notcontain:an
individual'sfullsocialsecurity numberorfullbirth date;thefullnameofaperson known to bea minor;or
a com plete financialaccountnum ber. A filing m ay include onlylthe lastfourdigitsofa socialsecurity
num ber;theyearofan individual'sbirth;a m inor's initials'
                                                         ,and the lastfourdigits ofa financialaccount
num ber.

Exceptasnoted in this form ,plaintiffneed notsend exhibits,aftidavits,grievance orw itnessstatem ents,or
any otherm aterialsto theClerk'sOfficewith thiscomplaint.

ln orderforyourcom plaintto be filed,itm ustbe accom panied by the filing fee oran application to
proceedinformapauperis.
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  1.    The Partiesto This Com plaint

        A.    ThePlaintiffts)
              Provide the inform ation below for each plaintiffnam ed in the com plaint. Attach
              additionalpagesifneeded.

                     N am e                                  r   c x .
                     A 1lothernam esby which you have been known:



                     ID Number               t%'a(s-q :
                                                      . (q
                     currentInstitution     hllamm wlo : uekw.byy cz
                                                                   'aye c
                     Address                t3 t 60 Hun qj* 1..
                                             N rq,t#,P'L 35 I-1%

        B.    TheDefendantts)
              Provide the infonnation below foreach defendantnam ed in the com plaint,w hether
              the defendantisan individual,a governm entagency,an organization,ora
              corporation.M akesurethatthedefendantts)listedbelow areidenticaltothose
              containedintheabovecaption.Foranindividualdefendant,includctheperson'sjob
              ortitle(ifknown)andcheckwhetheryouarebringingthiscomplaintagainstthem in
              theirindividualcapacity orofficialcapacity,orboth. Attach additionalpages if
              needed.

              DefendantNo.1
                     Name                    ('qrtos G.t&oc
                     Job orTitle            ?atkcê. aGjcgc
                     (ifknown)
                     Shield N um ber               o'z o -2. â% .1                oo
                                               <        *
                     Em ployer                     AO
                     A ddress


                          Individualcapacity                       Officialcapacity

              D efendantN o.2
                     Name                    '
                                             s'a            u oo


                                                   2
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                      Job orTitle            kqttczr oA'
                                                       la c
                      (ifknown)
                      Shield N um ber          O            A                    o
                                                   h.       h
                      Em ployer                                 '
                                                                      C> A
                      A ddress


                            lndividualcapacity                      Officialcapacity

               DefendantN o.3
                      N am e                 $/.ug 1u ;a.1-c'a.0
                      Job orTitle            ?ot/cz olfozr
                      (ifknown)
                      Shield N um ber         d),
                                                2.(3 l , a:?,e1- w+ &'gq
                      Em ployer                .   A.       !

                      A ddress


                            Individualcapacity                      O fficialcapacity

               DefendantN o.4
                      N am e
                      Job orTitle
                      (ifknown)
                      Shield N um ber
                      Em ployer
                      A ddress


                      EZI Individualcapacity                        O fficialcapacity

  II.   Basisfor Jurisdiction

        Under42U.S.C.j1983,youmay suestateorlocalofficialsforthetûdeprivationofany rights,
        privilegcs,orimmunitiessecuredbytheConstitutionand (federallawsl.''UnderBivensv.Six
        UnknownNamedAgentsofFederalBureauofNarcotics,403U.S.388(1971),youmaysue
        federalofticialsforthe violation ofcertain constitutionalrights.




                                                        3
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                Areyou bringingsuitagainst(checkallthatapply):
                I
                ZI     Federalofticials(aBivensclaim)
                       Stateorlocalofficials(aj 1983claim)

          B.    Section l983 allow sclaim s alleging the ûkdeprivation ofany rights,privileges,or
                immunitiessecuredbytheConstitution andFederallawsl.''42U.S.C.j 1983.lfyou
                aresuingundersection 1983,whatfederalconstitutionalorstatutoryrightts)doyou
                claim is/are being violated by state orlocalofficials?

                MMzx/ljw/-af ui-tyâr:l-p aakf: jk-pkrto 4,p .
                                                            cdllw.cz;t.é +kz ùvs-kf'r--..T ?>'
                                -   om                         4'         '            4            :Y pgit<n j
                         t-                       z,             dykw.z zo                 k            4Gzh plc)
                                                                                                                '
                -7eN .oR5 (j)f.5 z-            gvxpu jqw sya.w s)o yyua 6j                 ,po
                Plaintiffs suing underBiven m ay only recoverforthe violation ofcertain
                constitutionalrights.lfyouaresuingunderBivens,whatconstitutionalrightts)doyou
                claim is/are being violated by federalofticials?




                Section 1983 allow sdefendantsto be found liable only w hen they have acted Ctunder
                colorofany statute,ordinance,regulation,custom ,orusage,ofany State orTerritory
                ortheDistrictofColumbia.''42U.S.C.j1983.Ifyou aresuingundersedion 19:3,
                explain how each defendantacted under color ofstate orlocallaw . Ifyou are suing
                underBivens,explain how each defendantacted undercoloroffederallaw . Attach
                additionalpagesifneeded.

                  - kw Z1 ..         '
                                     >       W*&    <              v       -       ,             ' d,4
                            (            a              .          y     um . y. k
                                                                               .           r        g


   111.   Prisoner Status

          Indicatewhetheryouareaprisonerorotherconfinedperson asfollows(checkallthatapplyll
          '
                Pretrialdetainee
          EEI   Civilly com m itted detainee
                lm m igration detainee


                                                    4
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                Convicted and sentenced state prisoner
         E)     Convicted and sentenced federalprisoner
         ED     Other(explain)

  lV .   Statem entofC laim

         State as brietly as possible the facts ofyourcase. D escribe how each defendantwas
         personally involved in the alleged w rongfulaction,along w ith the datesand locations ofal1
         relevantevents. Y ou m ay w ish to include furtherdetails such as the nmnesofotherpersons
         involved in the eventsgiving rise to yourclaim s. D o notcite any casesorstatutes. lfm ore
         than one claim is asserted,num bereach claim and write a shol'tand plain statem entofeach
         claim in a separate paragraph. Attach additionalpages ifneeded.

                Ifthe eventsgiving rise to yourclaim arose outside an institution,describe w here and
                when they arose.

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                                                                                     *        (
                 (B).t> G5
                       $ o                  t-q t          '4s-i       :u c .                  c 3/w fo

         B.     Ifthe eventsgiving rise to yourclaim arose in an institution,describe w here and w hen
                they arose.




         C.     W hatdateandapproximatetimedidtheeventsgivingrisetoyourclaimts)occur?




         D.     W hatarethefactsunderlyingyourclaimts)? (Forexample: BJ/lt,happenedtoyou?
                Whodidwhat? Wasanyoneelseinvolved? Whoelsesww whathappened/)
                   .
                    44                 /m            k     .          y Bt                   ' koOG
                                             '
                                      x.
                                                 x   j..                v           '-            $yjgjz
                thgst                       -                            .4.             w         = - ?(#4
                                                                                                          'j
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                                 .         .                    h                           k j      a
                   .
                       t $       jjjqk     jw)                                                                     tkr.
                             c o           .            -       o                       '           w a .b.e # q
                       .     2               .
                                             *                  <           .
                                                                            z
                     k#ld.ss'eg : b$+ç V/-
                   o '                                  K ,*                *     (*1, N        q
  V.     lnjuries
         Ifyou sustainedinjuriesrelatedtotheeventsallegedabove,describeyourinjuriesandstate
         w hatm edicaltreatm ent,ifany,you required and did ordid notreceive.

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          r bt                                              '               -           x c t , /+vg .
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  V l.   R elief

         State brietly whatyou w antthe courtto do foryou.M ake no legalargum ents.D o notcite any
         casesorstatutes. Ifrequesting m oney dam ages,include the am ounts ofany actualdam ages
         and/orpunitive dam ages claim ed forthe acts alleged. Explain the basis forthese claim s.
          1:'x-$t'Jn                     'oks       'we                           o -               (-   t
             ,                           s.y.           ,




  V Il. Exhaustion ofA dm inistrative R em ediesA dm inistrative Procedures

         ThePrisonLitigationReform Act(tkPLItA''),42U.S.C.j1997e(a),requiresthatCûgnloadion
         shallbebroughtwith respectto prison conditionsundersection 1983 ofthistitle,orany other
         Federallaw,byaprisonerconfinedin anyjail,prison,orothercorrectionalfacilityuntilsuch
         administrativerem ediesasareavailableareexhausted.''
         A dm inistrative rem ediesare also known asgrievance procedures. Y ourcase m ay be
         dismissed ifyou havenotexhaustedyouradm inistrativeremedies.
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             Didyourclaimts)arisewhileyouwerecontinedin ajail,prison,orothercorrectional
             facility?

                    Y es
                    No

              lfyes,namethejail,prison,orothercorrectionalfacilitywhereyouwerecontinedat
              thetimeoftheeventsgivingrisetoyourclaimts).




        B.    Doesthejail,prison,orothercorrectionalfacilitywhereyourclaimls)arosehavea
              grievance procedure?

                     Y es
              (Z1    No
              ED     D o notknow

              Doesthegrievanceprocedlzreatthejail,prison,orothercorrectionalfacilitywhere
              yourclaimts)arosecoversomeora1lofyourclaims?



              E1     D o notknow

              lfyes,whichclaimts)?




              Didyoufileagrievanceinthejail,prison,orothercorrectionalfacilitywhereyour
              claimts)aroseconcemingthefactsrelatingtothiscomplaint?
                     Yes
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             Ifno,did you tile a grievance aboutthe events described in this com plaintatany other
             jail,prison,orothercorrectionalfacility?




        E.   Ifyou did file a grievance:
                    W here did you file the grievance?
                                                                                                 u /A
                                                                                                     #

                    W hatdid you claim in yourgrievance?




                    W hatwasthe result,ifany?




              4.     W hatsteps,ifany,did you take to appealthatdecision? lsthe grievance
                    processcompleted? lfnot,explainwhynot.(Describealleffortstoappealto
                    thehighestlevelofthegrievanceprocess.
                                                        )
                           M/A




                                                8
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              lfyou did nottile a grievance:
                      lfthere are any reascm s why you did notfile a grievance,state them here:

                       a                                                                          ccjj
                                                                                                     v n)
                        .    '   'j'                  a
                                                      *-
                                                       '   #




                      lfyou did notfile a grievance butyou did infonu officialsofyour claim ,state
                      w ho you infonned,when and how ,and theirresponse,ifany:

                             N1/A




        G.     Please setforth any additionalinform ation thatisrelevantto the exhaustion ofyour
               adm inistrative rem edies.




               (Note.
                    'Youmay attachasexhibitstothiscomplaintanydocumentsrelatedtothe
               exhaustionofyouradministrativeremedies.
                                                     )
  Vl11. PreviousLaw suits
        The Gûthree strikesrule''barsa prisonerfrom bringing a civilaction oran appealin federal
        courtw ithoutpaying the tiling fee ifthatprisonerhas Ston three orm ore prioroccasions,w hile
        incarcerated ordetained in any facility,broughtan action or appealin a courtofthe U nited
        States thatw asdism issed on the groundsthatitisfrivolous,m alicious,orfailsto state a claim
        upon which reliefmay begranted,unlesstheprisonerisunderimminentdangerofserious
        physicalinjuzy.''28U.S.C.j1915(g).
        To thebestofyourknowledge,haveyouhad acasedismissed based on thistûthree strikes
        nlle''?
               EEI    Y es
                      No




                                                  9
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        lfso,state w hich courtdism issed yourcase,when thisoccurred,and attach a copy ofthe
         orderifpossible.



               H aveyou tiled otherlaw suits in state or federalcourtdealing w ith the sam e facts
               involved in this action?

                      Y es
               1r     No

         B.    lfyour answ erto A isyes,describe each law suitby answ ering questions 1through 7
               below.(Ifthereismorethanonelawsuit,describetheadditionallawsuitsonanother
               page,usingthesameformat)
                      Partiesto the previouslaw suit

                       Plaintiffts)
                       Defendantts)
                       Court(ffederalcourt,namethedistrict;fstatecourt,namethectaz/n/yand
                       State)


                3.     D ocketorindex num ber



                       N am e ofJudge assigned to yourcase



                       Approxim ate date oftiling law suit



                6.     lsthe case stillpending?
                       EEI      Y es
                       EE1      No

                       lfno,give the approxim ate date ofdisposition.


                                                    10
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                     W hatwastheresultofthecase? (Forexample: Wasthecasedismissed? Was
                     judgmententeredinyourfavor? Wasthecaseappealed/)



              Have you tiled otherlawsuitsin state orfederalcourtotherwise relating to the
              conditionsofyourim prisonm ent?

               I
               ZI     Yes
                     No

         D.    lfyour answ erto C isyes,describe each law suitby answ ering questions 1 through 7
              below.(IfthereismorethanoneIawsuit,describetheadditionallawsuitsonanother
              page,usingthesameformat)
                      Partiesto the previous law suit

                      Plaintiffts)
                      Defendantts)

               2.     Court(Iffederalcourt,namethedistrict;Ifstatecourt,namethecoz/z?f.pand
                      State)



                      D ocketorindex num ber



                      N am e ofJudge assigned to yourcase



                      Approximatedateoffiling lawsuit



                6.     lsthe case stillpending?
                       EEI    Y es




                                                  11
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                      lfno,give the approxim ate date ofdisposition.

                      W hatwastheresultofthecase? (Forexample: Wasthecasedismissed? Was
                      judgmententeredinyourfavor? Wasthecaseappealed?)



   lX.   Certification and Closing
         UnderFederalRule ofCivilProcedure 1l,by signing below,1certifytothebestofmy
         knowledge,infonnation,andbeliefthatthiscomplaint:(1)isnotbeingpresentedforan
         improperpup ose,such astoharass,causeunnecessary delay,orneedlessly increasethecost
         oflitigation'
                     ,(2)issupportedbyexistinglaw orbyanonfrivolousargumentforextending,
         modifying,orreversing existinglaw;(3)thefactualcontentionshaveevidentiarysupportor,
         ifspecifically so identified,willlikely have evidentiary supportaftera reasonable opportunity
         forfurtherinvestigationordiscovery;and(4)thecomplaintotherwisecomplieswiththe
         requirem ents ofRule 11.

         A.     For PartiesW ithoutan A ttorney
                Iagree to providethe Clerk's Office w ith any changesto m y addressw here case-
                related papersm ay be selved. 1understand thatm y failure to keep acurrentaddress
                on file w ith the Clerk'sOffice m ay resultin the dism issalofm y case.

                Dateofsigning: ' /'           ,20zo
                                                -


                                                         .- ,
                                                                >             .-
                Signature ofPlaintiff                                .         ,
                PrintedNameofPlaintiff A/'fzl-
                                             rty?eI ..
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                                                       -
                                                       v.sf./? -5-/.
                Prisonldentification# t8 ö $..
                                             $kpl9-iV                                    - -
                Prison Address       +                      osà             t3 # 5 M v.ul V (%* sl#
                                   T7ö CA L                     P&                 '
                                                                                   3 #?T'ï
                                 City                               State            Zip Code
         B.     ForA ttorneys

                D ate ofsigning:              ,20 .

                Signature ofA ttorney
                Printed N am e ofAttorney
                BarN um ber
                N am e ofLaw Firm

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              A ddress
              Telephone N um ber
              E-m ailA ddress




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